Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN-NORTHERN DIVISION

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Dome Corporation of North America

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Enviro-Tech Structures Corporation
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5450 East Street
                                  Saginaw, MI 48601
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Saginaw                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.dome-corp-na.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Dome Corporation of North America                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known

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         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                          1) 2017 Audi, Computer, printer and Copier/fax located at: 15 S. Park St., Montclair, NJ
                                                          07042; and 2) Tool Trailer located at: Jobsite, 6303 Harrison Ave., Cincinnati, OH
                                                Other     45247.
                                             Where is the property?           See Above
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No

                                                Yes.    Insurance agency      Ieuter Insurance Group
                                                        Contact name          Vicky Jezewski
                                                        Phone                 989-835-6701


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Dome Corporation of North America                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 24, 2020
                                                  MM / DD / YYYY


                             X   /s/ Ross Lake                                                            Ross Lake
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Keith A. Schofner                                                     Date April 24, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Keith A. Schofner P41852
                                 Printed name

                                 LAMBERT LESER
                                 Firm name

                                 755 W. Big Beaver Rd.
                                 Suite 410
                                 Troy, MI 48084
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (989) 893-3518                Email address      kschofner@lambertleser.com

                                 P41852 MI
                                 Bar number and State




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                      Attorney General
                      Law Building
                      515 Ottawa
                      Lansing, MI 48913


                      BW & US Tax Office
                      3024 W. Grand Blvd.,Ste 11-500
                      Detroit, MI 48202


                      Michigan Dept. of Treasury
                      Collection/Bankruptcy Unit
                      P.O. Box 30168
                      Lansing, MI 48909


                      Michigan Unemployment Agency
                      P.O. Box 169
                      Grand Rapids, MI 49501


                      U.S. Attorney
                      Attn: Civil Department
                      101 First Street, Suite 200
                      Bay City, MI 48708


                      Internal Revenue Service
                      P.O. Box 7346
                      Philadelphia, PA 19101-7346


                      SBSE/Insolvency Unit
                      Internal Revenue Service
                      Box 330500-Stop 15
                      Detroit, MI 48232


                      ABC Supply Co., Inc.
                      15631 Collection Center
                      Chicago, IL 60693-0156


                      Accident Fund Insurance Co. of America
                      PO Box 77000
                      Detroit, MI 48277-0125


                      Adirondack Valley Builders Inc.
                      5833 Number Four Rd.
                      Lowville, NY 13367




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                  Apple Roofing LLC
                  Attn: Omaha New Construction
                  4833 North 32nd St.
                  Lincoln, NE 68504


                  Athena Construction Group, Inc.
                  17877 Old Triangle Road
                  Triangle, VA 22172


                  Balzer and Associates,          Inc.
                  PO Box 4068
                  Roanoke, VA 24015


                  Budget Dumpster
                  830 Canterbury Rd.
                  Westlake, OH 44145


                  Budget Dumpster, LLC
                  830 Canterbury Rd.
                  Westlake, OH 44145


                  Burke Concrete Construction
                  PO Box 2483
                  Purcellville, VA 20134


                  DP Brown of Detroit, Inc.
                  1646 Champagne Dr. N.
                  Saginaw, MI 48604


                  Fairfax Excavation & Paving Co.
                  44235 Wade Dr.
                  Chantilly, VA 20152


                  Ferguson Waterworks #1800
                  13900 Lowe St.
                  Chantilly, VA 20151-3213


                  Fifth Third Bank
                  102 W. Front St.
                  Traverse City, MI 49684


                  Fifth Third Bank
                  PO Box 630337
                  Cincinnati, OH 45263-0337


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                  Green Township Dept. of Public Services
                  6303 Harrison AVe.
                  Cincinnati, OH 45247-7818


                  Herc Rentals Inc.
                  PO Box 936257
                  Atlanta, GA 31193


                  Innovative Concrete Contracting
                  428 Paul St.
                  Freeland, MI 48623


                  JRE, LLC dba Ascension Roofing & Fab
                  2140 S. Phillippe Ave.
                  PO Box 192
                  Gonzales, LA 70737-0129


                  Koester Construction Co.
                  3050 SE Enterprise Dr.
                  Suite A
                  Grimes, IA 50111-5055


                  Maine Department of Transportation
                  16 State House Station
                  Augusta, ME 04333-0016


                  Morton Salt, Inc.
                  11217 Morton Rd.
                  New Iberia, LA 70560-7995


                  Mosaic Shared Services
                  13830 Circa Crossings Dr.
                  Lithia, FL 33547


                  Nationwide
                  Processing Center
                  PO Box 37712
                  Philadelphia, PA 19101-5012


                  NJ Department of Transportation
                  PO Box 600
                  Trenton, NJ 08625




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                  NJ Dept of Labor - Unemployment Ins Ofc
                  PO Box 226
                  Newark, NJ 07102-0226


                  Northern Sierra Corporation
                  5450 East St.
                  Saginaw, MI 48601


                  Old Veterans Construction
                  10942 S. Halsted St.
                  Chicago, IL 60628


                  Perkins/Carmack Construction
                  6005 Meijer Dr.
                  Milford, OH 45150


                  Pitney Bowes Global Financial Svs LLC
                  Customer Service Department
                  2225 American Dr.
                  Neenah, WI 54956-1005


                  Ross Lake
                  1880 Erskine Rd.
                  Hemlock, MI 48626


                  Rowe Electric Inc.
                  PO Box 276
                  Ringoes, NJ 08551-0276


                  Saginaw Foundation
                  5450 East St.
                  Saginaw, MI 48601


                  Shallow Creek Electrical Svcs
                  600 Airport Rd.
                  Winchester, VA 22602


                  State of NY - Office of General Services
                  Cornning Tower-35th Floor
                  Empire State Plaza
                  Albany, NY 12242-0109


                  Sunbelt Rentals
                  PO Box 409211
                  Atlanta, GA 30384-9211

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                  Tony Casale Inc.
                  1185 Saw Mill River Rd.
                  Yonkers, NY 10710


                  United Rentals (North America), Inc.
                  PO Box 100711
                  Atlanta, GA 30384-0711


                  United Rentals, Inc.
                  PO Box 100711
                  Atlanta, GA 30384-0711


                  Verizon
                  PO Box 16801
                  Newark, NJ 07101-6801


                  Virginia Department of Transportation
                  1221 E. Broad St.
                  Richmond, VA 23219


                  Western Surety Co.
                  PO Box 5077
                  Sioux Falls, SD 57117


                  Western Surety Company
                  PO Box 5077
                  Sioux Falls, SD 57117




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